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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


  PDVSA US LITIGATION TRUST,                                 )
                                                             )
                  Plaintiff,                                 )
                                                             )
  vs.                                                        )
                                                             ) Case No. 1:18-cv-20818-DPG
  LUKOIL PAN AMERICA, LLC, et al.,                           )
                                                             )
                  Defendants.
                                                             )


    LIMITED OPPOSITION OF DEFENDANTS COLONIAL GROUP, INC., COLONIAL
      OIL INDUSTRIES, INC. AND PAUL ROSADO TO PLAINTIFF’S MOTION FOR
                           PRELIMINARY INJUNCTION

           Defendants Colonial Group, Inc. (“CGI”), Colonial Oil Industries, Inc. (“COI”) and Paul

  Rosado (“Rosado” and, with CGI and COI, the “Colonial Defendants”) submit this limited

  opposition to Plaintiff’s motion for a preliminary injunction (Dkt. # 5), showing as follows:

           1.     Plaintiff’s motion is primarily directed at certain defendants identified by

  Plaintiffs as the “Morillo Group Defendants,” and not at the Colonial Defendants.

           2.     However, at page 3 of its motion, Plaintiff seeks an order that would restrain “all

  Defendants,” including the Colonial Defendants, “from removing, alienating, destroying,

  altering, secreting, mutilating, erasing, concealing, transferring or otherwise disposing of any of

  their records, documents, communications or notes, either electronic or hard copy, relating in any

  way to PDVSA.” (Dkt. # 5 at 3).

           3.     The Colonial Defendants are aware of, and are complying with, their common law

  document preservation obligations, which encompass the relief sought by Plaintiff as to them.

  See, e.g., Managed Care Sols., Inc. v. Essent Healthcare, Inc., 736 F. Supp. 2d 1317, 1324 (S.D.



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  Fla. 2010) (“the law imposes a duty upon litigants to keep documents that they know, or

  reasonably should know, are relevant to the matter” (citation omitted)).

         4.      Plaintiff’s requested relief as to the Colonial Defendants is therefore unnecessary

  and would, in fact, unduly accelerate the orderly process for discussing and resolving any

  preservation issues in connection with the Rule 26(f) conference. See Fed. R. Civ. P. 26(f)(2)

  (parties are to “discuss any issues about preserving discoverable information”); Fed. R. Civ. P.

  26(f)(3) (“discovery plan must state the parties’ views and proposals on … any issues about

  disclosure, discovery, or preservation of electronically stored information ….”).

         5.      There is nothing unique about Plaintiff’s allegations or claims against the

  Colonial Defendants that might warrant a departure from the framework for preservation set

  forth in relevant case law and in Rule 26(f).

         WHEREFORE, the Colonial Defendants respectfully oppose Plaintiff’s motion to the

  extent it seeks preliminary injunctive relief directed at them.

  Dated: March 26, 2018                           Respectfully submitted,


                                                  /s/Benjamine Reid
                                                  Benjamine Reid
                                                  Florida Bar Number 183522
                                                  CARLTON FIELDS JORDEN BURT, P.A.
                                                  Miami Tower
                                                  100 S.E. Second St., Ste. 4200
                                                  Miami, Florida 33131-2113
                                                  Telephone: (305) 539-7228
                                                  Fax: (305) 530-0055
                                                  Email: breid@carltonfields.com

                                                  and




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                                             David M. Burkoff (Admitted Pro Hac Vice)
                                             Allan C. Galis (Admitted Pro Hac Vice)
                                             Heather H. Lundy (Admitted Pro Hac Vice)
                                             HUNTER, MACLEAN, EXLEY & DUNN, P.C.
                                             200 E. Saint Julian Street
                                             P.O. Box 9848
                                             Savannah, GA 31412-0048
                                             Tel: (912) 236-0261
                                             Fax: (912) 236-4936
                                             Email: dburkoff@huntermaclean.com
                                                     agalis@huntermaclean.com
                                                     hlundy@huntermaclean.com
                                             Attorneys for Colonial Group, Inc.,
                                             Colonial Oil Industries, Inc. and Paul Rosado


                                 CERTIFICATE OF SERVICE

         I CERTIFY that on the 26th day of March, 2018, I electronically filed the foregoing with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via transmission of Notices of Electronic Filing generated by

  CM/ECF.

                                                /s/Benjamine Reid
                                                Benjamine Reid




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